        Case: 22-2003DocDocument:
Case 23-12825-MBK                 173 04/24/23
                         286-11 Filed   Page: 1 Entered
                                                   Date Filed: 03/22/2023
                                                        04/24/23   12:06:09                  Desc
                             Exhibit 9 Page 1 of 3



               Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
                      22-2008, 22-2009, 22-2010, 22-2011
                                                IN THE
                   United States Court of Appeals
                        for the Third Circuit
                             ____________________

                         IN RE: LTL MANAGEMENT LLC,
                                                                             Debtor
                             _______________________________________________________




                   *OFFICIAL COMMITTEE OF TALC CLAIMANTS,
                                                                              Appellant

                  *(Amended per Court’s Order dated 06/10/2022)
                             ____________________
            On direct appeal from the United States Bankruptcy Court
      for the District of New Jersey, No. 21-30589, Adv. Proc. No. 21-3023
                             ____________________
                     MOTION TO STAY THE MANDATE
                          ____________________

    GREGORY M. GORDON                                       NEAL KUMAR KATYAL
    BRAD B. ERENS                                           SEAN MAROTTA
    DAN B. PRIETO                                           WILLIAM E. HAVEMANN
    JONES DAY                                               JO-ANN TAMILA SAGAR
    2727 North Harwood Street                               PATRICK C. VALENCIA
    Dallas, Texas 75201                                     HOGAN LOVELLS US LLP
                                                            555 Thirteenth Street, N.W.
    C. KEVIN MARSHALL                                       Washington, D.C. 20004
    DAVID S. TORBORG                                        (202) 637-5600
    JONES DAY                                               neal.katyal@hoganlovells.com
    51 Louisiana Avenue, N.W.
    Washington, D.C. 20001
 March 22, 2023                                             Counsel for LTL Management LLC
       Case: 22-2003 Doc
Case 23-12825-MBK      Document: 173 04/24/23
                         286-11 Filed  Page: 19 Entered
                                                   Date Filed: 03/22/2023
                                                        04/24/23  12:06:09            Desc
                             Exhibit 9 Page 2 of 3



13 context, noting that limiting such dismissals to “extraordinary cases is

particularly appropriate” given that lack of good faith is an express statutory

ground for later denying plan confirmation in Chapter 13, see 11 U.S.C.

§ 1325(a)(3), and Chapter 11, see id. § 1129(a)(3), both. Marrama v. Citizens

Bank of Mass., 549 U.S. 365, 375 n.11 (2007). Bankruptcy courts “should be more

reluctant to dismiss a petition for lack of good faith than to reject a plan for lack of

good faith.” Id. (citation omitted). Even if the Supreme Court does not entirely

jettison the good-faith requirement, it is likely to be persuaded that this Court’s

standard is a bridge too far.

             LTL’s petition for certiorari will present a substantial question
             regarding the standard of review that an appellate court applies to
             a bankruptcy court’s good-faith findings.

      The panel decision also creates a split regarding the standard of review that

an appellate court applies in assessing good faith. The panel treated good faith as

“essentially[] a conclusion of law” reviewed de novo without any deference to the

Bankruptcy Court. Op. 33 (quoting BEPCO, 589 F.3d at 616). It “likewise”

treated the Bankruptcy Court’s finding of financial distress the same, giving it a

“fresh look.” Op. 33. The panel “[w]eigh[ed] the totality of facts and

circumstances” itself, leading it to reject the Bankruptcy Court’s conclusion that

Old JJCI—rather than LTL—was the proper focus of the financial-distress analysis

even though the funding agreement was part of the bankruptcy-driven


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       Case: 22-2003 Doc
Case 23-12825-MBK      Document: 173 04/24/23
                         286-11 Filed  Page: 20 Entered
                                                   Date Filed: 03/22/2023
                                                        04/24/23  12:06:09          Desc
                             Exhibit 9 Page 3 of 3



restructuring, and the restructuring was a “single integrated transaction” to resolve

Old JJCI’s talc liabilities. Op. 43-44. And the panel “evaluate[d] the financial

condition of LTL” for itself, concluding it would “not accept [the bankruptcy

court’s] projections of future liability.” Op. 45-46. By contrast, other courts of

appeals review a bankruptcy court’s good-faith finding under “the clearly

erroneous standard.” Premier Auto. Servs., 492 F.3d at 279; see also In re Brazos

Emergency Physicians Ass’n, P.A., 471 F. App’x 393, 394 (5th Cir. 2012); In re

Cedar Shore Resort, Inc., 235 F.3d at 379; In re Trident Assocs. Ltd. P’ship, 52

F.3d 127, 132 (6th Cir. 1995); In re Marsch, 36 F.3d at 828.

      Here, again, the Court’s analysis is likely wrong and there is a reasonable

possibility it will be reversed by the Supreme Court. See Nara, 494 F.3d at 1133.

The instances in which the Supreme Court has “articulated a standard of deference

for appellate review of district-court determinations reflect an accommodation of

the respective institutional advantages of trial and appellate courts.” Salve Regina

Coll. v. Russell, 499 U.S. 225, 233 (1991). “[A] federal appellate court [has the]

primary function as an expositor of law,” Miller v. Fenton, 474 U.S. 104, 114

(1985), and is therefore best-suited to resolve questions that “contribute to the

clarity of legal doctrine,” Salve Regina, 499 U.S. at 233. But a second (and in

many cases, third) round of de novo consideration imposes added costs on judges

and litigants alike, and it is ill-suited to occasions when an appellate court’s



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